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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road March 20, 2007
Las Vegas, NV 89121 Invoice No. 359466

For Legal Services Rendered Through February 28, 2007
Thomas J. Allison .
Matter No. 34585-00015

Travel Time

02/06/07 P Hunt 4.00 Travel Salt Lake City to Las Vegas for hearing
. (4.0).

02/06/07 A Jarvis 4.00 Travel from Salt Lake City to Las Vegas for
hearing.

02/07/07 P Hunt 4.00 Travel from Las Vegas to Salt Lake City.

02/07/07 A Jarvis .50 Travel ‘to court.

02/07/07 A Jarvis .50 Travel from court to company.

02/07/07 A Jarvis .50 Travel to court for Tree Moss hearing.

02/07/07 A Jarvis 4.00 Travel from Las Vegas to Salt Lake City after
hearings. ,

02/08/07 P Hunt 4.50 Travel from Salt Lake City to Las Vegas for
hearing (4.5).

02/08/07 A Jarvis 4.50 Travel from Salt Lake City to Las Vegas for
hearing.

02/09/07 P Hunt 5.60 Travel from Las Vegas to Salt Lake City for

hearing (flight delay) (5.6).

02/09/07 A Jarvis .50 Travel to court for hearing.

Client

Debtor
02/09/07
02/12/07
02/12/07
02/12/07
02/13/07
°02/13/07

02/14/07
02/14/07
02/14/07
02/15/07
02/15/07
02/15/07

02/15/07

02/16/07

02/19/07
02/19/07
02/20/07
02/20/07

02/21/07

Case 06-10725-gwz

No.

Jarvis

Jarvis

Jarvis

Monson

Hunt

Jarvis

Hunt

Jarvis
Jarvis
Jarvis
Jarvis
Jarvis

Strong

Strong

Monson ,

strong

Jarvis

Strong

Jarvis

34585
USA Commercial Mortgage Co.,

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Page: 2

March 20, 2007

et al.

Travel from Las Vegas to Salt Lake City after
hearing (flight delay) .

Travel from Salt Lake City to Las Vegas for
meeting with Compass.

Travel from Las Vegas to Salt Lake City after
meeting.

Travel to Las Vegas and return travel to Salt
Lake (6.0).

Travel from Salt Lake City to Las Vegas
(delay - lost luggage) (5.5).

Travel from Salt Lake City to Las Vegas for
hearings (delay - lost luggage).

Travel from Las Vegas to Salt Lake City.

Travel to court for hearings.

Travel after court to deposition.

Travel to court for hearings.

Travel from court to company.

Travel: from Las Vegas after hearings.

Travel from SLC to LAS (flight delay in SLC and

ground transportation delay in LAS) (4.2).
Return travel from LAS to SLC (3.8).

Travel from Salt Lake City to Las Vegas for

meeting.

Travel from SLC to Las Vegas for meetings
with UCC and transition work (3.7).

Travel from Salt Lake City to Las Vegas for
meetings, deposition of client.

Return travel from LAS to SLC (nonworking
portion of travel) (2.2).

Travel from Las Vegas to Salt Lake City.
Client
‘Debtor

02/21/07
02/25/07

02/26/07
02/27/07
02/28/07
02/28/07

02/28/07

Case 06-10725-gwz

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USA Commercial Mortgage Co., et al. March 20, 2007

E Monson .30 Travel from Las Vegas back to Salt Lake City.

E Monson .50 Travel to Las Vegas from Salt Lake City.

M Pugsley .00 Travel to Las Vegas for depositions and
return (6.0).

& Monson .30 Travel to Las Vegas from Salt Lake City.

P Hunt .50 Travel from Salt Lake City to Las Vegas for
March 1, 2007 hearings (delay - lost luggage)
(5.5) .—

A Jarvis .50 Travel to Las Vegas for hearing (delay - lost
luggage).

E Monson .00 Travel back to Salt Lake City from Las Vegas.

TOTAL FOR LEGAL SERVICES RENDERED $20,375.25

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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
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ATTORNEYS AT LAW
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TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road March 20, 2007

Las Vegas, NV 89121 Invoice No. 359467

For Legal Services Rendered Through February 28, 2007

Thomas J. Allison
Matter No. 34585-00017
Regulatory Matters

02/02/07 K Cassett

02/05/07 M Pugsley 2.

02/05/07 K Cassett

02/12/07 A Jarvis

02/28/07 M Pugsley 4.

TOTAL FOR LEGAL SERVICES RENDERED

-90

-20

20

Continue indexing documents for production.

Work with client to prepare for meeting with
U.S. Attorneys Office (1.5); pull retention
letters and review file (.5).

Final meeting with vendor regarding document
imaging and production to FTI.

Correspondence on governmental issues.
Work on wrap-up issues (2.7); correspondence

with C. Harvick and T. Prichard regarding SEC
database (1.5).

_ $1,943.00
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Case 06-10725-gwz . Doc 3602-1 Entered 04/26/07 16:54:38 Page 8 of 29
STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER

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POST OFFICE BOX 45385
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TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX ~

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road March 20, 2007

las Vegas, NV 89121 Invoice No. 359470

For Legal Services Rendered Through February 28, 2007
Thomas J. Allison
Matter No. 34585-00021

Unsecured Creditors Committee Relations

02/01/07 A Jarvis

-10

Draft memorandum to committees regarding
revised motion to dismiss, open issues for
discussion.

02/01/07 A Jarvis .20 Conference call with Committees regarding
motion to dismiss, plan and closing issues.
02/01/07 S Strong .20 Participate in conference call with committees’
. and debtors’ professionals regarding appellate
- issues and sale closing issues (.8).
02/02/07 A Jarvis -33 Committee call.
02/02/07 S Strong -32 Participate in telephone conference with
committees and debtors professionals
regarding pending appeals, loan servicing
issues, sale closing issues, and transition
issues (1.3).
02/06/07 A Jarvis .40 Conference call with UCC regarding Colt loans.
02/06/07 A Jarvis .17 Conference call with Committees regarding
transition plan, appeals.
02/06/07 A Jarvis -40 Conference call with Diversified Committee and

ucc regarding Colt loans (.8).
Client
Debtor

02/06/07

02/07/07
02/08/07
02/11/07

02/11/07

02/13/07
02/13/07
02/19/07

02/19/07

02/20/07

02/20/07

02/21/07

Case 06-10725-gwz

No. 34585
USA Commercial Mortgage Co., et al.

S Strong

A Jarvis

A Jarvis

A Jarvis

S Strong

A Jarvis

A Jarvis

A Jarvis

E Monson

A Jarvis

S Strong

A Jarvis

18

-07

-10

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Page: 2
March 20, 2007

Participate in conference call with committees
and débtors counsel regarding pending appeals,
pending asset sale, and transition issues (.7).

Draft memo to committees regarding status of
discussion with Compass, lease issues.

Response to inquiry by R. Charles about

motion to enforce settlement.

~20

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-05

30

.00

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Conference call with Committees regarding
licensing, closing issues.

Participate in conference call with debtors
and committees professionals regarding closing
pending sale to Compass (.8).

Conference call with Committees regarding
licensing, purchase price adjustment issues.

Telephone conference with Diversified Committee
and UCC regarding Colt loans.

Correspondence on calls with Committees on
Compass closing, 1142 motion.

Meet with T. Allison and S. C. Strong to
prepare for meeting with DTDFC and UCC (.4);
meet with UCC and DTDFC to go over transition
issues (3.4); post meeting discussions with
client (.8).

Meet with UCC and Diversified Committee and
with client regarding transition issues.

Participate in meeting at USACM offices with R.
Charles, G. Berman, Diamond McCarthy firm
lawyers, other UCC professionals, Diversified
professionals, T. Allison regarding transition
and post-effective-date issues (2.5).

Conference call with Committees regarding new
motion to stay, 1142 motion.

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Client No. 34585 Page: 3
Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/21/07 S Strong: .32 Participate in teleconference with

committees and debtors professionals
regarding LPGs new motion for stay pending
appeal, draft of second motion regarding Plan
implementation, and other transition issues

(1.3).

02/23/07 A Jarvis .12 Conference call with Committees on response to
motion to stay.

02/23/07 A Jarvis .30 Further correspondence on Colt Gateway payoff

negotiations with Fertitta.

02/23/07 A Jarvis .30 Draft new letter to B. Bullard regarding
payoff proposal on Colt Gateway loan.

02/23/07 A Jarvis .05 Correspondence with committees. on Colt payoff
(.2).

02/23/07 A Jarvis .05 Correspondence with committees on letter to
Tabas on Colt loan (.2).

02/23/07 A Jarvis .10 Correspondence with committees regarding
outside date for financing in Colt Gateway
(.4).

02/23/07 A Jarvis — .05 Correspondence with committees regarding new

letter to B. Bullard (.2).

02/26/07 A Jarvis .20 Telephone conference with R. Charles
regarding Colt mediation.

TOTAL FOR LEGAL SERVICES RENDERED . $3,185.62
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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
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FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through February 28, 2007

Thomas

J. Allison

Matter No. 34585-00022 \

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March 20, .2007
Invoice No. 359471

Executory Contracts Committee Relations

02/01/07 A Jarvis

02/01/07

02/01/07

02/02/07

02/02/07

02/06/07

02/06/07

A Jarvis

S Strong

A Jarvis

S Strong

A Jarvis

8S Strong

.10 Draft memorandum to committees regarding

revised motion to dismiss, open issues for
discussion.

.20 Conference call with Committees regarding

motion to dismiss, plan and closing issues.

.20 Participate in conference call with

committees’ and debtors’ professionals —
regarding appellate issues and sale closing
issues (.8).

33 Committee call.

.32 Participate in telephone conference with

committees and debtors professionals
regarding pending appeals, loan servicing
issues, sale closing issues, and transition
issues (1.3).

.17 Conference call with Committees regarding

transition plan, appeals.

.18 Participate in conference call with committees

and debtors counsel regarding pending appeals,
pending asset sale, and transition issues (.7).
Client
Debtor
02/07/07
02/11/07

02/11/07

02/13/07
02/19/07

02/20/07

°02/21/07

02/21/07

02/23/07

02/23/07

02/23/07

02/23/07

02/23/07

TOTAL FOR LEGAL SERVICES RENDERED

Case 06-10725-gwz

No. 34585

USA Commercial Mortgage Co., et al.

A Jarvis

A Jarvis

S Strong

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A Jarvis:

A Jarvis

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A Jarvis

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Page: 2
March 20, 2007

Draft memo to committees regarding status of
discussion with Compass, lease issues.

Conference call with Committees regarding
licensing, closing issues.

Participate in conference call with debtors
and committees professionals regarding
closing pending sale to Compass (.8).

Conference call with Committees regarding
licensing, purchase price adjustment issues.

Correspondence on calls with Committees on
Compass closing, 1142 motion.

Participate in meeting at USACM offices with R.
Charles, G. Berman, Diamond McCarthy firm
lawyers, other UCC professionals, Diversified
professionals, T. Allison regarding transition
and post-effective-date issues (2.5).

Conference call with Committees regarding new
motion to stay, 1142 motion.

Participate in teleconference with committees
and debtors professionals regarding LPGs new
motion for stay pending appeal, draft of second
motion regarding Plan implementation, and other
transition issues (1.3).

Correspondence with committees on Colt payoff

(.2).

Correspondence with committees on letter to
Tabas on Colt loan (.2).

Correspondence with committees regarding |
outside date for financing in Colt Gateway

(.4).

Correspondence with committees regarding new
letter to B. Bullard (.2).

Conference call with Committees on response to
motion to stay.

$1,436.12
Case 06-10725-gwz Doc 3602-1 Entered 04/26/07 16:54:38 Page 14 of 29

Case 06-10725-gwz
STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER

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FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
has Vegas, NV 89121

For Legal Services Rendered Through February 28, 2007

Thomas J. Allison

Matter No. 34585-00014 °

Costs

Costs Advanced:
02/28/07 Copying Expense (outside office) - - Salt Lake
Legal
02/28/07 Copying Expense (outside office) - - Salt Lake
Legal

02/16/07 Travel Expense - - Annette W. Jarvis
02/16/07 Travel Expense - - Annette W. Jarvis
02/16/07 Travel Expense - - Annette W. Jarvis
02/16/07 Travel Expense - - Annette W. Jarvis
02/16/07 Travel Expense - - Annette W. Jarvis
02/16/07 Travel Expense - - Elaine A. Monson
02/16/07 Parking Expense - - Annette W. Jarvis
02/27/07 UCC Search - - Wells Fargo Remittance Center
02/27/07 UCC Search - - Wells Fargo Remittance Center
02/27/07 UCC Search - - Wells Fargo Remittance Center
02/27/07 UCC Search - - Wells Fargo Remittance Center
02/27/07 Search Fee - - Wells Fargo Remittance Center
02/27/07 Search Fee - - Wells Fargo Remittance Center
02/27/07 Search Fee - - Wells Fargo Remittance Center
02/28/07 Federal Express Charges
02/28/07 Postage
02/28/07 Database Legal Research
02/28/07 Facsimile Expense (Outgoing)
02/28/07 Copying Expense
02/28/07 Business Meal (s)

02/28/07

Facsimile Long Distance Charges

March 20,
Invoice No.

432.13
1780.13

260.14
764.57
281.02
301.06
103.68
558.55
6.00
18.00
6.00
12.00
152.00
1.03
1.03
1.03
4819.23
412.00
8732.73
18.50
3995.60
168.55
3.95

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2007
359465

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Client No. 34585 . . Page: 2
Debtor USA Commercial Mortgage Co., et al. March 20, 2007

TOTAL COSTS ADVANCED $22 1828.93

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2866981 _ NG HALLOW 20Z0z0 esuedxy BuyAdog |} 790 0z'0$ 20/20/20 ugbi
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O0SLZ8L esuedxg BuiAdog gg 790 OO'LES 20/+0/Z0 saef
6L96981 VIOINLWd NAO 20L0z0 esuedxa BulAdog 1 790 0z'0$ L0/+.0/Z0 upbs
8296981 VIOIM.LVd NOU 20L0Z0 esuedxg BulAdop 7 790 or'o$ Z0/L0/Z0 ugbi
LL96981 VIOINLWd NMOS 20100 esuedxy BulAdop 1 790 oc'o$ 20/+0/Z0 urgbi
9L96981 NMVd YaIANO” ZOLOZO esuedxy BulAdog 172 790 Oz prs LO/LO/ZO ugbi
GZO6981L VIOINLWd NMOUE 20L0z0 esuedxg Buikdop 6z¢E 790 og'so$ 20/L0/20 ugbi
7296991. SIWYVO LSHNH 20L0Z0 esuedxy Bulkdog poe v90 08'2Z$ 20/10/20 wgbi
6296981 FIMYVO LSYNH 20-0z0 esuadxg Bulkdog 96} 790 o9'6e$ 20/10/20 ugbs
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‘Case 06-10725-gwz

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LLESZEL sabieyo sseidxg jejepey | €L0 69°8L$ 20/Z0/Z0 sAlef
GLEGZEL sefieyo sseidxq jelepe | ELO 69°8L$ 20/Z0/C0 saief
PLESZEL sefieyo sseidxq jeiepey | €L0 z9'Ov$ 20/Z0/Z0 sael
EVeESZeL sebieyo sseidxg jelepa | €L0 BL'OL$ Z0/Z0/Z0 sarel
ZLESLEL sebieyo sseidxg jelepey | €L0 00°6z$ L0/Z0/20 sAlel
OLESZSL safieyo sseidxy jesepey |. - eL0 Lest 20/Z0/Z0 sAief
6OESZ8L sebieyo sseidxy jeiepe4 | €L0 00°6z$ 20/Z0/ZO salef
B0ES/81 sebieyo sseidxy jeleps4 | €L0 —GOLes 20/Z0/Z0 sae!
QOESZEL ‘sobieyo sseidxg jeiepey | €L0 oe's7es 20/Z0/Z0 saiel
SOESZ8L sebieyo sseidxy jeiepey | €L0 ve'6cs$ Lo/z0/z0 saref
pOeSZeL sabieyo sseidxy jesepey OL €L0 oe Sze 20/Z0/Z0 sael
SOSSZEL sebieyo sseidxg jesepe4 py £L0 BT PLE'LS 20/Z0/z0 sarel
ZOESZEL -sabreyo sseidxg jerepa4 9 €L0 ez r6r$ 20/Z0/Z0 sAlef
LOESZ81 sabieyd ssedxy jeiepey Zh €L0 ge"286$ L0/Z0/ZO sAlel
00ESZ91 sabieyo sseidxg jeiepey | €L0 oo'ses 20/20/20 sAre[
LOSLZ8L asuedxg BulAdog 69g 790 Ose LS 20/20/20 sAlef
ZOSOL81 asusdxg BuAdop 679'9 790 og'6ze'lL$ 20/20/20 sAef
6666981 VIOINLWd NMMONE 20z0z0 esuedxy BuAdop |, 790 07'0$ 20/Z0/Z0 ugbi
8666981 WYOT GNNTHSNO 20Z0Z0 esuedxy BuAdog rpz 790 og’ er$ 20/Z0/ZO ugbi
2666981 VIOIMLWd NMOUd 20z0z0 esuedxy Buikdog 1 790 0z'o$ 20/Z0/Z0 ugbi
9666981 IWYOT GNITYAMO 20Z0z0 esuedxg BuAdog zyre 790 Oreos 20/20/20 ugbi
G666981 VIOIMLWd NMONG 20Z0Z0 esuadxg BulAdop 1, 790 0z'0$ L0/Z0/Z0 upbi
7666981 VIODINLWd NMMONG 20Z0Z0 esuadxy BulAdog 06z v90 oo'es$ 20/20/20 ugbs
€666981 VIOILWd NAAONE 202020 esuedxy Bulldog gg9 790 O9'LEL$ 20/Z0/Z0 wgbi
7666981 SIMYVO LSYNH 20z0z0 esuedxy Bulldog gg¢ 790 09'22$ 20/20/20 ugbi
L666981 IMHOT CNN TYAMO 20z0z0 esuedxy BulAdog ozy 790 00're$ 20/20/20 ugbi
0666981 FINVTAIN NLLYVI 20z0z0 esuedxy BulAdog gz. 790 og'sz$ 20/@0/Z0 ugbi
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Case 06-10725-gwz

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6OLOL81 FINVTAI NILYVIN Z0S0Z0 esuedxy BulAdog 790 09'6$ L0/S0/e0 ugbi
BOLOZ8L VIOIMLWed NMOUG Z0S0z0 esuedxy BulAdop 790 09°0$ 20/30/20 ugbi
ZOLOZ81L VIOILWd NMOWG Z0S0z0 esuedxy BulAdoo 790 orbs 20/0/20 ugbi
9OL0Z8L VIOIN.LWd NMOS 20S0z0 esuedxy BurAdop 790 00'z$ 20/S0/Z0 ugbi
SOLOLS8L AVS JIGYVM LOg0z0 esuedxy BuiAdop ¥90 oz'z$ 20/90/20 ugbi
vOLOLS1 IMYOT GNNTYAMO 20S0Z0 esuedxy BujAdog 790 0c'0$ 0/90/20 ugbi
L8EGZ81 sebieyo sseudxy |eiepe4 | €L0 or’ Le$ Lo/e0/Z0 sale[
ggeSZel sefieyo sseidxg jesepey | €L0 cL 0c$ 20/20/20 saief
ZOEGLEL sabieyo ssaidxg jeiepeg | €L0 or'Le$ Lo/z0/Z0 ‘sel
L9ESZEL sefieyo ssoidxa jeieped | €L0 or 2z$ . 20/Z0/ZO saief
O9ESZEL sefieyo sseidxg jeiepey | eL0 2e°6e$ 20/20/20 sael
BSESZeL seBbieyo sseidxg jelepey 1 E10 6g'ze$ 20/Z0/Z0 saef
SSESZBL sebreyo sseidxg jesepey 1 ELO o8'0L$ Z0/Z0/Z0 salef
LSESZ81 sebieyo sseidxy jeispey | eLO or'Lz$ LO/ZO/ZO saref
QSeszel seBieyo sseidxq jeiepes | €L0 6S'8L$ 20/Z0/ZO svef
GSESZeL sebreyo sseidxg jeiepes | eL0 18°62$ L0/Z0/Z0 salef
pSESZ8L sefieyo sseidxy jeiepey | €L0 Or'Le$ L0/Z0/ZO sel
eSes/el seBieyo sseidxq jeiepes | EL0 or Les 0/20/20 sAle[
6ZESLEL sebieyo sseidxy jeiepey | SLO 6g°BL$ 20/20/20 sArel
8ZESZeL sefieyo sseidxg jelepes | €L0 €l'6z$ 20/20/20 saef
LZESZel soBieyo sseidxg jeiepes | €L0 z9'0e$ L0/Z0/Z0 sAief
QZESZEL sebieyd sseidxy jerepej | €LO BLEL$ 20/z0/z0 sAlef
GZeSZeL sebieyo sseudxy jejepey | EL0 os ZL$ 20/20/20 spiel
peeSleL sofieyo sseidxy jeiepes | €L0 zo'oe$ 20/Z0/Z0 saef
ezeSZeL sebieyo sseidxy jeiepej | €L0 68'9z$ L0/Z0/ZO svel
ZzeGLel sofieyo.sseidxq jesepey | £10 zo'0Ee$ 20/z0/z0 sAief
LZeGZeL seBieyo sseidxg jeiepeg | €L0 zo'0e$ 20/z0/z0 sal
6LEGZEL sefieyo sseidxy jeiepej | eL0 LELb$ 20/Z0/ZO saef

# Xepu] PsoUeApPY $}SOD jo uoydyoseq apo9 qyunouly jsog ajyeq Asuloyy

YSBLNSOD

GLLOLEL VIOINLVd NMOS 2080Z0 esuedxy BulAdop ¢} 790 oo'e$ 20/80/20 ugh.

vLLOZ8t VION Vd NMMONS 2080Z0 esuedxg Bulldog Z 790 or'o$ 20/80/20 wb
o ELLOLEL VIOILVd NMONG 208020 ssuedxy Bultdop | p90 0z'0$ 20/80/Z0 ugbi
N ZLLOLE1 VIOINLWd NMOUE 2080z0 esuadxa Buikdog Z 790 or'0$ 20/80/20 wpb
8 LLZOZSL INNOT GNM TYANO 208020 esuedxy BulAdop 6 790 og 20/80/20 wpb
“I OLZOZ81 INMOT GNNTWAMO 2080Z0 esuedxg Buikdog 1 790 0z'0$ 20/80/Z0 wgbi
& 6020281 INYO GNNTHANO 2080zZ0 esuadxy BulAdog g 790 oo'L$ 20/80/20 ugbi
& LLPOL8L VIOINLWd NMOS 20200 esuedxy Buikdop ¢ 790 09'°0$ 20/20/20 ugbi
0 9LP0Z81 FMVS LSYNH 202020 esuedxg BulAdog | 790 02'0$ 20/20/20 ugbi
o SLPOL8L VIOIM.LWd NMOUE 204020 esuedxg Bulddog Z y90 ov'0$ 20/20/20 ugh.
i PLvOLsl ©) NIASM 3QV19 OOSlLSeressL sebieyo souejsiq Buo7 eyjwisoey | L6P e9'7s 20/20/20 ugbi
© ELvOlel © NIASY FAV19 oosLser6ss! (Gulobjno) esuedxy eyuysoey Ze LZ0 00°91$ L0/L0/20 ugbi
> ZLPOLSL FINV IAW NILYVIN 202020 esuedxg BuiAdog z9 790 Ov'eL$ 20/20/20 ugbi
S LEEGZBL seBieyo ssedxq jeiepe4 | elo pr'sts 20/90/20 sAief
= QEESZEl sebieyo sseidxg jeiepej | E10 poz 20/90/20 satel
cS PLOLLEL. ebejsoq | 910 Or 0ez$ 20/90/20 sare[
© 99ZLLZBL meysey | 610 80'00e$ 20/90/20 usuow
£ SSZLZEL MeRsEy\ | 610 98°e97$ 20/90/20 juny
Lu ySZOZeL SINVTIAIN NLLEVIN 209020 esuadxy Bulkdog Z}} 790 or'ecs 20/90/20 wgbi
a ESZOLEL VIOINLWd NMOUS 209020 esuedxg BulkdoD ¢} 790 09°27 20/90/20 ugbi
N zSz0Z8! FINV TAIN NILYVI 209020 esuedxy BulAdog ¢z 790 09'r$ 20/90/20 ugbi
© LSZOL81 FINVISIN NILYVIN 2090Z0 esuedxy Buikdog Zz, 790 ores 20/90/20 ugbi
Q OSZOZ8L IWYOT GNNTHANO 20900 esusdxy Bulkdop 1 790 0z'0$ 20/90/20 webs
a 6PZOLEL AMV LSUYNH 209020 esusdxy Bulkdoo ers 790 08'60L$ 20/90/20 ugbi
N 8rZ0L81 AVS FTGNVM 209020 esuadxy Bulkdop Zz 790 or'0$s 0/90/20 wgbi
= eeesZel sebieyo sseidxg jeiepey | €L0 9L'9g$ 20/S0/Z0 saief
0 L8ZS281 sebieyo sseidxy jeiepey | elo “go'2e$ 20/90/20 sAle[
KS 98zSZel sebieyo sseidxy jeiepe4 | €L0 o9'08$ L0/S0/Z0 sal
4 S8zSZel sobieyo sseidxg jesopej | eL0 65°08$ 20/90/20 sail
3S PEZSZElL sebieyo sseidxg jesepey | €L0 Sr Lo$ 20/90/20 saref
% # Xopuy POOUBAPY. S}SOD Jo uoydisseq AyQuenH apo9 quNoWwy jso5 # YOBUD aed Asusropny
& _ _ MSPLASOD . __

BrESZEL sebieyo sseidxg jeiepey | €L0 LVSZL$ LO/ZLIZO svel

LYESLEL sebieyo ssoidxg jeiepey | eL0 Or'9EL$ LO/ZL/Z0 sAlef
o QPESZgl sefieyo ssaidxq jeiepey | €L0 6L'CL$ LO/Z1/Z0 salef
N speglel sebiey sseudxg jeiepet | EL0 Br LbLS “LO/ZLIZO sel
S PresleL sefieyo sseidxg jejepey | €L0 Ze LOLS 20/Z1/20 sale[
N EresZeL seBieyo sseidxg jejepey | eL0 ze LOL$ ‘LOIZLIZO - Sarel
op LSOEZeL METS | _6LO Le'eses LO/ZL/ZO ysuny
a PrOeZelL meysey | 610 08° LOL$ LO/eL/Z0 JAnog
60 90S1Z81 esuedxy BuAdeg py 790 oe'e$ LofeL/20 saref
oO GOSLZ8L asuedxg BulAdog ¢1 790 09'e$ 20/21/20 sAef
i vOSLZB1 asuadxy BuAdog | 90 0z'0$ LO/e1/20 saref
o 8crbZel VIOINLVd NMOUE 20Z-Z0 esuedxy BuiAdod 9} 790 oz'e$ LO/21/20 ugbs
bs Lev-ZeL AIMYVO LSUNH 20ZbZ0 esusdxg BulAdog 2} 790 ores LO/ZLIZO ugbi
S QZrLZEL AIMYVO LSYNH 20Z/-z0 esuedxy BuiAdoo: 1 790 0z'0$ LO/ZLIZO ugbi
+ StrLZeL SIMNVO LSYNH 20z1z0 esuedxg BulAdop z 790 Ov'0$ 20/21/20 ugbi
cS yevLZeL AINV TAIN NILYVI ZOZL-zo esuedxy Buide L 790 0z'0$ LO/21/2Z0 wgbi
© BPOEZEL “MERSSM | BLO e6'e6e$ 20/60/Z0 yuny
£ L691-281 abejsod | 910 00°891$ 20/60/20 sAle[
WW 6901281 VIOINLWd NAO 206020 esuedxy Burkdop 06 790 00°81$ 20/60/20 ugbi
4 B90LZ81 FIMYVO-LSYNH 206020 esuedxy BulAdop Lge 790 02 9L$ _ 20/60/20 wgbi
N 290181 VIDINLWd NMOUS 206020 esuadxg Buikdog ogy 790 00°96 20/60/20 ugbi
$s 9901-281 AIMYVO LSYNH 2060Z0 esuedxy Bulkdog oso'l 790 00°0LZ$ L0/60/Z0 ugbi
Q G901281 N3YVy WVHONIE 206020 esuedxy Buiddop z60' 790 Or'sLz$ 20/60/20 ugbi
Qa POOLZ81 VIOINLVd NMOWG 206020 esuedxy BulAdog 182 790 or'2s$ 20/60/20 ugbi
N E90LZ81 NAVY WWHONIG 206020 esuedxg Bulkdop ¢€0Z 790 o9'or$ 20/60/20 ugbi
= 2901281 AIWUVO LSYNH 2060z0 esuedxy Bulkdog Be 90 00°82$ 20/60/20 wgbi
LOOLZ8L VIOINLVd NMON 2060z0 esuedxy Buikdog go ‘y90 oo'eL$ 20/60/20 ugh
is 090-281 FAMYVO LSUNH 2060Z0 esuedxy Burkdop oz 790 00'rz$ 20/60/20 urgbs
of 6SOLZ8L FINYVO LSYNH 20600 esuedxy Bulkdop ¥Z 790 08'r$ 20/60/20 ugbi
& OSOEZEL MENSEN | 6LO OL LLL 20/80/Z0 ysuny
% # xapu] pesueapy s}so5 Jo uondiosaq Ayjueny spe yunoluy so5 # YOBUD aed Asuiony
8 _ YyseLAsoD _ __ .

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ELOZZ8L SIME ‘ eyauuly - - asuedxy jOAB1L | BLL Z0'L8z$ g6Serl LO/9L/Z0 sAlef
ZLOZZEL SIef (M eyeuuy - - (see Sseuisng | ply zB'6r$ 9697  —- 0/91/70 saie[
LLO@L81 SIMep "\ eyeuuy - - esusdxy OAR, | Sb Lg pOL$ 96SZrL  — LO/9L/Z0 salef
OLOZZ81 sller “\\ ayeuuy - - (s)/Be Sseuisng | ply Ze'87$ g6Szvl LO/9L/ZO salef
6002281 SIME "A S}euuly - - esuedxy jeABLL 1 8b} vLo9z$ Q6SZryL  — LO/9L/ZO sail
PrGLZBL W SVIDNOd NOSNOW ZOSLzo esuedxy BuiAdog |, 790 0z'0$ LO/GLIZO ugbi
CP6lZ81 IW SV1DNOG NOSNOW Z0S1-z0 esuedxy Builkdog g 790 oo'Ls LO/SLIZO ugbi
B8ESZ81 seBieyo sseidxg jerepey 1 EL0 92'0%$ LO/PL/ZO sAlef
CLSLZ8b VIOIMLVd NMOUE 207120 esuedxy Bulkdog ¢ 790 09°0$ LO/¥ 1/20 ugbi
ZISLZ8L WV ANIVIE NOSNOW SLLSpzzogPl seBieyp eouelsiq Buoy eywisoey 1 “L6r rr'0$ LO/L/ZO ugbi
LL8LZeL V SNIV1E NOSNOW SLLSpzZogrl (Buiobjno) esuedxy ayjwsoey Z LZ0 00°L$ LO/7 1/20 w9bi
OL8LZ8L _ WIOMLWd NMOUNE Z07LZ0 esuedxy Bulkdog 2 790 orl LO/v1IZ0 ugbi
OLEEZSL MERSSAA | 610 LO‘crs LO/EL/ZO usuowui .
SOSEZSL MENSOAA | 6LO Br L9S$ LO/ELIZO 13304
LLLEL8L asuadxq Burddop 790 OzeL$ LO/EL/ZO salel
OLLEL8L esuedxy BuyAdog 790 og's$ LOMELIZO salef
SLLEZEL asuadxy BulAdop 790 09'68$ LO/ELIZO sAlel
9091-281 FIWYVO LSUNH 20120 esuedxy BulAdop 790 09'9L$ LO/ELIZO wgbi
SO9LZEL _ SINNVO LSYNH 20€1Z0 esuedxy BulAdog 790 0z'9$ LO/ELIZO ugbi
PVOOLZ8L  WANIV1S NOSNOW 006r6ZE916} seBieyD souejsiq Buo07 ajwuisoey L6y g8'0$ LO/E 1/20 ugbi
E09LZ81 V ANIV1S NOSNOW 00676ZE9L61 (Bujobino) esuadxy eyjuisoey LZ0 0S'L$ LOE LIZO web.
ZOOLZEL AMWYVO LSUYNH 20ELZo esuedxy BuAdog 790 or'o$ LO/EL/Z0 ugbi
LOOLZ8L FIMYVO LSUNH 20120 esuedxy BulAdop 790 oo'e$ LO/EL/ZO ugbi
0091-281 FIMYVD LSHNH 20e+z0 esuedxy BujAdop 790 00'e$ LO/ELIZO ugbi
66SLZ8L FIMNVO LSYNH LOELZo esuedxy BulAdog 790 oo'se$ LO/ELIZO webs
B6SLZ81 FIMNVO LSYNH 20120 esuedxg Bulkdog 9 790 0z'L$ LO/EL/ZO ub.
2651-281 FIYYVO LSYNH 20E1z0 esuedxy Budo Zz 790 Or'o$ LO/EL/ZO ugbi
9651281 FIV LSYNH 20E-z0 esuedxy BulAdog Z 790 Or'o$ LO/EL/ZO ugbi
oseszel sabieyo sseidxg jeiepe4 | ELO 06°E1L$ LO/ZLIZO sael
BrESZ8l _ seBieyo sseidxg jesepe4 | E10 LL LbL$ LO/ZLIZO salef
# Xepu} peouerapy 5}S05 jo uondiosaq apoy qyunowy }s05 #yoeYyD ajeq Aauioyy
yselAsog

i

VID LVd NMOUS 202220 ssuedxy BulAdop

8082281 BZ 790 OO'SLLS L0/@z/ZO ugbi
LO8ZZel VIOIMLWd NMOS 20Z2z0 esuedxg BuAdog oO} 790 00'z$ L0/Z@/Z0 ughi
o 9087281 AINVIAW NILYVW 20¢%z0 esuedxy Bulkdog 9¢ 790 07'2$ LO0/Z2/Z0 web.
N O€OPZ8l abeysod | 910 Or'as LO/LZ/ZO sarel
S 6ZOPLEL abeisod | 910 07 L$ L0/-2/20 sarel
N EE9ZLEL FINVISIN NILYVI Z0b2z0-esuedxy Buikdog ¢ v90 09°L$ LO/L2/Z0 ugbs
& ZEOTZBL FINVISIN NILUW Z0bZz0 esuedxg BulAdog Z 790 Or'o$ LO/LZ/ZO wpb
& LegzZel FINV IAW NILYVIN 20-220 esuedxa Buikdop gL 790 08'z$ LO/LZ/ZO ugbs
0 OeOzZel FINYVO LSYNH Z0L2zo esuedxy Buikdop | 790 oz'o$ LO/LZ/ZO ugbi
oO 6z9ZZEL FIWUVO LSYNH 201720 esuedxy Buikdog 1 790 oz‘o$ LO/-Z/ZO ugbi
i BZ9ZL81 VIOINLWd NAO ZOLZz0 esuedxg BulAdop g 790 001s L0/LZ/Z0 ugbi
© LZ97181 VIDINLWd NMOUG Z0LZz0 esuedxy Bulddoa |. 790 0z'0$ LO/LZ/ZO “web
Ss OSPSZeL , sefieyo sseidxq jelepey | €L0 92'0e$ 20/0Z/ZO sail
Oo OLLEZ8L asuedxy Bulkdog 6gz 790 08'LS$ L0/0Z/Z0 sael
Ss eovezet . esuedxy BulAdog Oo} 790 00°¢$ L0/0Z/Z0 sael
cS CePSZeL sefieyo sseidxg jeiepes | €L0 ZIT LO/9L/Z0 sAlef
© 6ZPSLEL safieyo sseidxg jeispej | 610 ez'el$ 20/91/20 salef
£ 8crGZel sefieyo ssoidxg jesepej | ELO o6'eL$ LO/91/Z0 ‘sarel
WW Z8crZel SqeL WINX O} 620 00'0$ LO/9L/ZO saref
4 COSeZel MERSONA | 6L0 ve'vess LO/9LIZO ysuny
n 96ZEZ81 menseM | 6L0 povees 20/91/20 sanog
© EVLTZ8l AIMYVO LSYNH Z091Z0 esuedxy BulAdop * “y90 o8'0$ LO/9L/ZO wb.
2 CvLZZeL FIMYVD LSHNH 209120 esuedxg Buikdop Z 790 or'6$ Z0/91/Z0 ugbi
a LvLZZet AIYYVO LSYNH 209120 esuedxg Buiddop Z 790 or'o$ 20/91/20 ugbi
N BLOZLEL uosuOW "y Sule|z - - (s)/ee, ssoulsng | ply LL'e2$ L09zv- —s- LO/OL/ZO sAlef
= BLOZZEL uOsUOWy "y eule|y - - esuedxy feAesL | 8b gg'esss L09z@pvl —s- LO/OL-/ZO saief
Lb LLOZLEL slMer ‘{y eyeuuly - - (sey ssoulsng | ply Os'L LS g6Szrl LO/91/Z0 sAef
5 QLOZZEL sIMer ‘\\ ayouuy - - esuedxy jeAel| | “Shh B9°COL$ g6SzrL ° LO/9L/Z0 saef
cd GLOZZ8L SIMep " epeuuy - - esuedxy jeAelL | BLL 90° L0e$ g6Szrl LO/9L/z0 sMef
8. vLOZZEL sider ‘(A oyeuuy - - esuedxy Bupyed | ech 00'9$ g6Scrl  — LO/9L/Z0 salel
% # XOpu] posueApYy s}s0D JO uoHdioseq AyQueny apod wuNOoUY }sSOg , # YIBYUD 9}eq Aaulony
8 __ _ . . ” YSBLASOD _ _

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SMV LSYNH 208zz0 esuadxy BuiAdop

Case 06-10725-gwz

LLGELBL 790 08°0$ L0/8Z/Z0 ugbi
OLGELEL W SVIDNOd NOSNOW 208zz0 esuedxy Buiddop 790 oo'es$ 20/82/ZO ugbi
SL6EL81 IN SVTIDNOd NOSNOW 208zz0 esuedxy BulAdop 790 Or rs 20/8Z/ZO ugbs
PLBEZel AIWYVS LSYNH 208zz0 esuedxy BulAdop 790 Oo'L$ L0/8Z/Z0 ugbi
EL6EZ8L AIMYVO LSYNH 208zz0 esuadxg Bulddop 790 Or'eLs. LO/8Z/ZO ugbi
ZLGEZBL AVS FIGHVM 208220 esusdxy Bulddog 790 or'o$ 20/82/20 ugbi
OzLeZet je6e7 eye7 Wes - - (Bd4Yo apisjno) esuedxy BHulAdoD $90 eb 0e2'bs Lol@vl. —- LO/87Z/ZO saref.
LLLELBL jeBe7 ©4277 WS - - (BOLO episyno) esuadxy BuyAdoo g90 eb cers Lol@vL =: LO/BZ/ZO. sAiel
LvSEZ8L VION Wd NMONE 202220 esuedxy BuiAdop 790 09'0$ LO/LZ/ZO ugbi
OPSEZelL NONNVHS LSINO 202220 esuedxy BulAdog 790 o8'0$ LO/LZ/ZO | uwgbs
ZPEELOL Jajueg souepluey obey syjayy - - yorees DON 102 00°8L$ ZeZe@vl =: LO/ZZ/ZO sel
BEEeZEL Jejuag soueyWey obsey sje - - 884 YoleEs 68E €0'L$ ZLZ@vb = LO/AZ/ZO sAle[
OfeeZsl Jajueg soueywiey obiey syjeyy - - yosees DON 202 00°7S1L$ ZbZz@v-- LO/LZ/ZO sel
BZEELSL JajUueg souepey Obie, syjef - - yosees DON L0Z 00°Zb$ zhZzpL = LO/ZZ/ZO shel
SZEELEL JaUSQ SOUeTWSY OBse SISA - - YUUEABS DON L0Z 00°9$ ZbZevl = LO/Z7/Z0 svref
LZEELEL Jequag souepiwey o61e.4 sien - - 884 YUeES 68E E0°LS zbZzpb =: LO/Z7/ZO sale[
OZECLEL Jajueg soueywey Obie, sijayy - - 884 yoleag “68e e0'Ls ZeLepL =: LO/ZZ/ZO sAef
pECPLslL MESO 6L0 ge'soe'l$ Z0/97/ZO ns}
veEPLel ME]SOAA 6LO el 6Ly$ 20/97/Z0 13}04
Lycelel VIOINLWd NMOUd 209720 esuedxy BulAdog 790 0o'L$ 20/92/20 wb
QPZELBL VIOINLWd NMOS 209%z0 esuedxy Buiddog 790 02 tS 20/9@/Z0 ugbi
OzErZEL Meese 6L0 66 Lzs$ LO/ET/ZO yeuny
ELLEZeL asusdxg Buiddoa y90 0z'0$ LO/Ez/ZO ‘saref
 LO0EZ81 VIOILWd NMONE 208zz0 esuedxy BulAdog 790 or'os LO/EZ/ZO ugbs
000eZ81 TAVS FICHVM 208220 esuadxy BulAdoo 790 or'oL$ ZO/€Z/ZO ugbi
6662281 TAVS STIGHVM 208220 esusdxg BulAdop 790 02 '12$ LO/EZ/Z0 wpb.
8667281 VIOINLWd NMOS 20Ezz0 esuedxy Burddop 790 or'o$ ‘LOIETZ/ZO ugbi
LL8ZZ8L AINVIAW NILYVIN 20¢2z0 esusdxy Bulddog 790 09'r$ L0/ZZ/ZO urgbi
OL8ZZ81 _—-WIORLWd NMOud 20z2z0 esuedxy BulAdoo 790 ov'0$ LO/@Z/ZO ugbi
608781 IN SVIDNOd NOSNOW 2022z0 esuedxy BulAdog 790 ores L0/ZZ/ZO ugbi
# Xapu] PSsoUueAPY S}SO0H jo uondioseg 8poo qunouly 37809. # HO9YD ajyeq Asulony
yseLysoy

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BZOPLEL meysay\ | 6L0 eS vlc 20/82/20 J}}04
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pe2orZel mMeRSEM | 6L0 g9°69S'1$ 20/82/20 saef
€cOrZElL .  MeYSEM | 6L0 _ poveses L0/82/Z0 siief
6L6EZ8L VIOINLWd NMONE 208220 esuedxy Buikdog gy 790 09'6$ LO/8Z/c0 ugbi
SL6EZLSL VIOINLWd NMOU 208zz0 esuedxy BuiAdog LE ¥90 or'Z$ 20/8Z/ZO ugbs
# XOpu] PsouUeAPY S}SO4 jo uopjdiiosag AyQueny Sepod qyuNOUIY 3809 # HIBUD ayeq Aauiony

yseLyso5

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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
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SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
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FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through February 28, 2007

Thomas

J. Allison

Matter No. 34585-00019

FTD Committee Relations

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March 20, 2007
Invoice No. 359468

02/01/07 A Jarvis

02/01/07

02/01/07

02/02/07

02/02/07 8

02/06/07

02/06/07

A Jarvis

S Strong

A. Jarvis.

Strong

A Jarvis

A Jarvis

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-18

Draft memorandum to committees regarding
revised motion to dismiss, open issues for
discussion.

Conference call with Committees regarding
motion to dismiss, plan and closing issues.

Participate in conference call with committees’
and debtors’ professionals regarding appellate
issues and sale closing issues (.8).

Committee call.

Participate in telephone conference with
committees and debtors professionals

regarding pending appeals, loan servicing

issues, sale closing issues, and transition
issues (1.3).

Correspondence with FIDF Committee regarding
LPG appeal.

Conference call with Committees regarding
transition plan, appeals. ,
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Client No. 34585 . Page: 2
Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/06/07 S Strong .17 Participate in conference call with

committees and debtors counsel regarding
pending appeals, pending asset sale, and
transition issues (.7).

02/07/07 A Jarvis .08 Draft memo to committees regarding status of
discussion with Compass, lease issues.

02/11/07 A Jarvis .20 Conference call with Committees regarding
oO licensing, closing issues.

02/11/07 S Strong .20 Participate in conference call with debtors
and committees professionals regarding closing
pending sale to Compass (.8).

02/13/07 A Jarvis .15 Conference call with Committees regarding
licensing, purchase price adjustment issues.

02/19/07 A Jarvis .05 Correspondence on calls with Committees on
Compass closing, 1142 motion.

02/21/07 A Jarvis .32 Conference call with Committees regarding new:
motion to stay, 1142 motion.

02/21/07 S Strong .33 Participate in teleconference with committees
and debtors professionals regarding LPGs new
motion for stay pending appeal, draft of second
motion regarding Plan implementation, and: other
transition issues (1.3).

02/22/07 A Jarvis .30 Telephone conference with R. Charles
regarding Colt, motion to remain in leased
premises and correspondence regarding same.

02/23/07 A Jarvis .13 Conference call with Committees on response to
motion to stay.

02/23/07 A Jarvis .05 Correspondence with committees on Colt payoff
(.2).

02/23/07 A Jarvis 05 Correspondence with committees on letter to

Tabas on Colt loan (.2).

02/23/07 A Jarvis .10 Correspondence with committees regarding
outside date for financing in Colt Gateway

(.4).

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Debtor USA Commercial Mortgage Co., et al. March 20, 2007
02/23/07 A Jarvis .05 Correspondence with committees regarding new

letter to B. Bullard (.2).

- TOTAL FOR LEGAL SERVICES RENDERED $1,301.88

